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          Exhibit D
                      (Part 4)

Redacted Version of Document Sought
             to be Sealed
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